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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA )
v. § Criminal No.\Z;/E:EY§?/
CHRISTINE ANN KEBR )
INFORMATION MEMORANDUM

AND NOW comes the United States of America, by its
attorneys, David J. Hickton, United States Attorney for the Western
District of Pennsylvania, and Robert S. Cessar, Assistant United
States Attorney for said District, and submits this Information
Memorandum to the Court:

I. THE INFORMATION
A one-count Information was filed against the above-named

defendant for an alleged violation of federal law:

COUNT OFFENSE DATE TITLE[SECTION
1 Conspiracy 18 U.S.C. § 371

From on or about
September 15, 2006,
to on or about
December 15, 2009
II. ELEMENTS OF THE OFFENSE
A. As to Count 1:
In order for the crime of Conspiracy, in violation of 18
U.S.C. § 371, to be established, the government must prove all of
the following essential elements beyond a reasonable doubt:

1. That two or more persons agreed to commit an

offense against the United States, as charged in the information.

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§ 2. That Christine Ann Kebr was a party to or member of that
agreement;
3. That Christine Ann Kebr joined the agreement or

conspiracy knowing of its objective to commit an offense against
the United States and intending to join together with at least one
other alleged conspirator to achieve that objective; that is, that
Christine Ann Kebr and at least one other alleged conspirator
shared a unity of purpose and the intent to achieve a common goal
or objective, to commit an offense against the United States; and

4. That at some time during the existence of the agreement
or conspiracy, at least one of its members performed an overt act
in order to further the objectives of the agreement.

Third Circuit Model Criminal Jury Instruction 6.18.371A.

III . PENALTIES
A. As to Count l: Conspiracy (18 U.S.C. § 371):
1. Individuals - The maximum penalties for individuals
are:
(a) imprisonment of not more than 5 years (18
U.S.C. § 371);
(b) a fine not more than the greater of;
(l) $250,000 (18 U.S.C. § 357l(b)(3));
Q;

(2) an alternative fine in an amount not more

than the greater of twice the gross pecuniary gain to any person or

 

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twice the pecuniary loss to any person other than the defendant,
unless the imposition of this alternative fine would unduly
complicate or prolong the sentencing process (18 U.S.C. § 3571(d));

(c) a term of supervised release of not more than
three (3) years (18 U.S.C. § 3583);

(d) Any or all of the above.

IV. MANDATORY SPECIAL ASSESSMENT
A mandatory special assessment of $100.00 must be
imposed at each count upon which. the defendant is convicted,
pursuant tO 18 U.S.C. § 3013.
V. RESTITUTION
Restitution is applicable in this case.
VI. FORFEITURE
Not applicable in this case.
Respectfully submitted,

DAVID J. HICKTON
United States Attorney

/QL//&Q

ROBERT S. CESSAR
Assistant U.S. Attorney
PA ID NO. 47736

 

 

